               IN THE SUPREME COURT OF NORTH CAROLINA

                                    2022-NCSC-20

                                      No. 41A21

                                 Filed 11 March 2022

TAMMY LOU HOPE

             v.
INTEGON NATIONAL INSURANCE COMPANY


      Appeal pursuant to N.C.G.S. § 7A-30(2) from the decision of a divided panel of

the Court of Appeals, No. COA20-265, 2020 WL 7974003 (N.C. Ct. App. Dec. 31,

2020), affirming in part and reversing in part a summary judgment order entered on

22 November 2019 by Judge Henry L. Stevens IV in Superior Court, Sampson

County, and remanding the case. Heard in the Supreme Court on 16 February 2022.


      Brent Adams &amp; Associates, by Brenton D. Adams and Diana Devine, for
      plaintiff-appellant.

      Bennett Guthrie PLLC, by Rodney A. Guthrie and Jasmine M. Pitt, for
      defendant-appellee.


      PER CURIAM.

      AFFIRMED.1




      1 The unpublished decision of the Court of Appeals, Hope v. Integon Nat’l Ins. Co.,

No. COA20-265, 2020 WL 7974003 (N.C. Ct. App. Dec. 31, 2020), is available at
https://appellate.nccourts.org/opinions/?c=2&amp;pdf=39635.
